                          Case 2:16-cr-00277-DWA Document 8 Filed 12/29/16 Page 1 of 3
AO 245B (Rev. 11/16) · Judgment in a Criminal Case
                       Sheet I



                                         UNITED STATES DISTRICT COURT
                                      Western District of Pennsylvania
                                                       )
             UNITED STATES OF AMERICA                  )     JUDGMENT IN A CRIMINAL CASE
                         v.                            )
             MARTIN ESQUIVEL-HERNANDEZ
                                                       )
                                                             Case Number: 16 er 277
                                                       )
                                                       )     USM Number: 6054-308
                                                       )
                                                       )      Sally Frick
                                                       )     Defendant's Attorney
THE DEFENDANT:
~pleaded guilty to count(s)           1 of the Information

D pleaded nolo contendere to count(s)
   which was accepted by the court.
D was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:


                                          ?-'JP:''"·::~-,~,,...,~·v';"T~'··· ·:·E:-r~;;~7,7;7;-~;·w-"'<·:~: ···~ ,,,.~T-~·                     ..·- (<':~~:::·~.:~37;:~::,:;;;z~A·~
                                                       '              >of Ari" IOehtification                                      Qocutil'er::if':· :::~?·
                                                                        :>%ft.'.... "'~~:;,,;:..___,,_,;j;;~_.,;,:;;,41,f,:_ ;if;'.''.!l~;~, ...:3.C~·:...A~:~.:::. -:. ,::1ii::.... ~-!L::t:.




       The defendant is sentenced as provided in pages 2 through                                                     __4_ _ _ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D The defendant has been found not guilty on count(s)
D Count(s)                                                             Dis                        D are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States attorney for this district within 30 days of an)' change ofname, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defenaant must notify the court and United States attorney of material clianges in econmruc circumstances.

                                                                                                                       12/29/2016



                                                                                                                    Signature of Judge




                                                                                                                       Donetta W. Ambrose, Sr. U.S. District Judge
                                                                                                                    Name and Title of Judge


                                                                                                                       12/29/2016
                                                                                                                    Date
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AO 245B (Rev. 11/16) Judgment in Criminal Case
                     Sheet 2 - Imprisonment

                                                                                                     Judgment -          2_ of
                                                                                                                  Page _ _       3
DEPENDANT: MARTIN ESQUIVEL-HERNANDEZ
CASE NUMBER: 16 er 277

                                                            IMPRISONMENT

           The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total
term of:

  89 days




      0    The court makes the following recommendations to the Bureau of Prisons:




      ~ The defendant is remanded to the custody of)~e pnited States Marshal, #-{\ Jt
       -r\\t.. t,t.>. M"n:.h"\ 11-V\+i\ -the. !'r«"""""" is. -trl"~t?J -,.
      0    The defendant shall surrender to the United States Marshal for this district:

           0    at                                0 a.m.        0 p.m.       on

           0    as notified by the United States Marshal.

      0    The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

           0    before 2 p.m. on

           0    as notified by the United States Marshal.

           0    as notified by the Probation or Pretrial Services Office.



                                                                    RETURN
 I have executed this judgment as follows:




            Defendant delivered on                                                         to

  a                                                  , with a certified copy of this judgment.
      ~-------------~




                                                                                                    UNITED STATES MARSHAL



                                                                            By -------=---:=--c----=~-~:=-:-=~----~
                                                                                        DEPUTY UNITED STATES MARSHAL
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AO 245B (Rev. 11/16)   Judgment in a Criminal Case
                       Sheet 5 ~Criminal Monetary Penalties
                                                                                                                             Judgment - Page -~3~-   of   3
DEFENDANT: MARTIN ESQUIVEL-HERNANDEZ
CASE NUMBER: 16 er 277
                                               CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                       Assessment                 JVTA Assessment*                                   Fine                         Restitution
 TOTALS            $ 25.00                      $ 0.00                                             $ 0.00                       $ 0.00



 D The determination ofrestitution is deferred until - - - - • An Amended Judgment in a Criminal Case (AO 245C) will be entered
      after such determination.

 D The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximately proportioned pa)'Il!ent, unless specified otherwise in
     the priority: or~er or perc~ntage payment column below. However, pursuant to 18 U.S.C. § 3664(1), all nonfederal victims must be paid
     before the Umted States rs paid.


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 TOTALS


 D     Restitution amount ordered pursuant to plea agreement $

 D     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
       fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
       to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 D     The court determined that the defendant does not have the ability to pay interest and it is ordered that:

       D the interest requirement is waived for the              D fine                  D restitution.
       D the interest requirement for the           D fine            D        restitution is modified as follows:

 *Justice for Victims of Trafficking Act of2015, Pub. L. No. 114-22.
 ** Findings for the total amount of losses are required under Chapters 109 A, 110, 11 OA, and 1 l 3A of Title 18 for offenses committed on or
 after September 13, 1994, but before April 23, 1996.
